3344 er. 102020 npg Bs© 1:24-cv-05014-LMM .,,Rocuigent | 2p filed 11/01/24

Page 1 of 2

The JS44 civil cover sheet and the information contained herein neither replace nor cupplaite fines 20.14 & VM ¢ Ms 489 rats 681 Exch) as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

I. (a) PLAINTIFF(S)
DARAINE DELEVANTE

(b) COUNTY OF RESIDENCE OF FIRST LISTED

PLAINTIFF Gwinnett
(EXCEPT LN U.S. PLAIN IIFF CASES)

DEFENDANT(S)
TRANS UNION LLC

COUNTY OF RESIDENCE OF FIRST LISTED

DEFENDANT.
(LN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED

(c) ATTORNEYS (FLKM NAME, ADDRESS, LELEPHONE NUMBER, AND
E-MALL ADDRESS)
Daraine Devante - Pro Se
360 Pharr Rd NE, Apt. 114
Atlanta, GA 30305

ATTORNEYS xxowy

Paul W. Sheldon
Quilling, Selander, Lownds, Winslett & Moser, P.C.
6900 N. Dallas Parkway, Suite 800, Plano, Texas 75024

(214) 560-5453
psheldon@qslwm.com

(347) 852-0294

Il. BASIS OF JURISDICTION

(PLACE AN “X” LN ONE BOX ONLY)

Il. CITIZENSHIP OF PRINCIPAL PARTIES
(PLACE AN “X” LN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(FOR DIVERSITY CASES ONLY)
PLF DEF PLF

DEF
O 4 O -
CITIZEN OF ANOTHER STATE O 5 C 5

1.

INCORPORATED OR PRINCIPAL
PLACE OF BUSLNESS LN THIS STATE

Ch U.S. GOVERNMENT Ms FEDERAL QUESTION O 1 O 1 CITIZEN OF THIS STATE

PLAINTIFF (U.S. GOVERNMENT NOL A PARTY)

CO, U.S. GOVERNMENT Oo, DIVERSITY LI, LI,

DEFENDANI (INDICATE CILIZENSHIP OF PARTIES
O Os

INCORPORATED AND PRINCIPAL

PLACE OF BUSLNESS LN ANOTHER STALE
IN ITEM ID)

CITIZEN OR SUBJECT OF A OO.
FOREIGN COUNTRY

FOREIGN NATION

IV. ORIGIN exact an«x«tN one Box ONLY)
TRANSFERRED FROM

Ch ORIGINAL MV); REMOVED FROM Os REMANDED FROM Cine REINSTATED OR Cs ANOTHER DISTRICT
PROCEEDING STALE COURL APPELLAIE COURI (Specify District)

CO] MULIIDISTRICT CT APPEAL 10 DISIRICI JUDGE
6 LITIGATION - 7 FROM MAGISTRATE JUDGE
TRANSFER MENI

MULIIDISTRICI
8 LITIGATION -
DIRECT FILE

V. CAUSE OF ACTION (GUE THE US, CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
JRISDICTIONAL STATUTES UNLESS DIVERSITY)

Fair Credit Reporting Act ("FCRA"), 15 U.S.C. § 1681, et seq.

Plaintiff alleges violations of the FCRA, 15 U.S.C. § 1681, et seq.

(IF COMPLEX, CHECK REASON BELOW)

. Unusually large number of parties. . Problems locating or preserving evidence

. Unusually large number of claims or defenses. . Pending parallel investigations or actions by government.
. Factual issues are exceptionally complex . Multiple use of experts.

. Greater than normal volume of evidence. . Need for discovery outside United States boundaries.

5. Extended discovery period is needed. Cho. Existence of highly technical issues and proof.
CONTINUED ON REVERSE
FOR OFFICE USE ONLY
RECEPT # AMOUNT §, APPLYING IFP MAG. JUDGE (IEP)
JUDGE, MAG. JUDGE, NATURE OF SUIT CAUSE OF ACTION,

Case 1:24-cv-05014-LMM Document 1-2

VI. NATURE OF SUIT (PLACE AN “X” LN ONE BOX ONLY)

CONTRACI - "0" MONTHS DISCOVERY TRACK
150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
(71 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
(71 153 RECOVERY OF OVERPAYMENT OF
VELERAN’S BENEFITS

140 NEGOTIABLE INSTRUMENT

151 MEDICARE ACI

160 SLOCKHOLDERS' SUILS

190 OTHER CONTRACT

195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK = =—“‘Sé;‘(SOé;C;*;*;*;™~™~™~;~;C;C~™

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT
240 TORTS TO LAND

24) TORT PRODUCT LIABILITY
290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK

310 AIRPLANE

31) AIRPLANE PRODUCTI LIABILIT'Y

$20 ASSAULT, LIBEL & SLANDER

330 FEDERAL EMPLOYERS’ LIABILITY

340 MARINE

345 MARINE PRODUCT LIABILITY

350 MOTOR VEHICLE

39) MOTOR VEHICLE PRODUCTI LIABILITY

$00 OLHER PERSONAL INJURY

362 PERSONAL INJURY - MEDICAL

MALPRACTICE
365 PERSONAL INJURY - PRODUCT LIABILITY
[J 367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY
[71 268 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERYTRACK .—~
370 OLHER FRAUD
$71 TRUTH IN LENDING
$80 OFHER PERSONAL PROPERTY DAMAGE
385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 15/

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK
440 OTHER CIVIL RIGHTS
441 VOTING

442 EMPLOYMENT

443 HOUSING/ ACCOMMODATIONS

445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other

448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK

Filed 11/01/24

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SOCIAL SECURITY - "0" MONTHS DISCOVERY
ra sssSSsS—

861 HIA (1395¢%)

862 BLACK LUNG (923)
863 DIWC (405(2))

863 DIWW (405(g))

864 SSID TITLE XVL
865 RSI (405(g))

a TAX SUITS - "4" MONTHS DISCOVERY

462 NATURALIZATION APPLICATION
46) OLHER IMMIGRATION ACLIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY
TRACK = =—“i‘CSOUWC;*;*™O™O™O™C~C~C~C~C~C~C~COCOCOOOOOCS

463 HABEAS CORPUS- Alien Detainee

310 MOLIONS TO VACATE SENTENCE

530 HABEAS CORPUS

33) HABEAS CORPUS DEATH PENALTY

340 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se

560 CIVIL DETAINEE: CONDITIONS OF
CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY
TRACK  =——“‘(C<‘(Ci‘i‘(Céa.éas’”;”w;é‘S;C;COC~C~™

550 CIVIL RIGHTS - Filed by Counsel
[() 555 PRISON CONDITION(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
TRACK

“~~ TE] 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
( 690 OTHER

LABOR - "4" MONTHS DISCOVERY TRACK
710 FAIR LABOR STANDARDS ACT
/20 LABOR/MGM1. RELATIONS
740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION
791 EMPL. RET. INC. SECURITY ACT

PROPERTY RIGHTS - "4" MONTHS DISCOVERY

820 COPYRIGHTS
840 TRADEMARK

880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

PROPERTY RIGHTS - "8" MONTHS DISCOVERY

TRACK
Ol 830 PATENT
[-] 835 PALENIT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

870 TAXES (U.S. Plaintiff or Defendant)
CI 8/1 IRS - THIRD PARTY 26 USC /609

OTHER STATUTES - "4" MONTHS DISCOVERY
TRACK = =—“i‘CSKNC;é‘(SO;O*;*~;™;™~™~C~C~C~

375 FALSE CLAIMS ACT

376 Qui Tam 31 USC 3729(a)

400 STATE REAPPORTIONMENT

430 BANKS AND BANKING

490 COMMERCE/ICC RATES/EIC.

460 DEPORTATION

470 RACKETEER INFLUENCED AND CORRUPT

ORGANIZATIONS

480 CONSUMER CREDIT

485 TELEPHONE CONSUMER PROTECTION ACT

490 CABLE/SATELLITE TV

890 OTHER STATUTORY ACTIONS

891 AGRICULTURAL ACIS

893 ENVIRONMENTAL MATTERS

895 FREEDOM OF INFORMATION ACT 899

899 ADMINISTRATIVE PROCEDURES ACI /
REVIEW OR APPEAL OF AGENCY DECISION

90 CONSTILUTIONALITY OF STATE STATUTES

0 OOOO000

OTHER STATUTES - "8" MONTHS DISCOVERY
TRACK = =—“‘“S;*;‘CS;™O™O™;™~™~™~;COC

410 ANTITRUST
850 SECURITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - “0" MONTHS DISCOVERY
TRACK ©.

CO 896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

VII. REQUESTED IN COMPLAINT:

CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23

DEMAND $

JURY DEMAND O YES NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

VIII. RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPRUPRIALE BOX)
(1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(12. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

(3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
((14. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(15. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
(216. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(17. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.
DISMISSED. Thiscae [is Cisnor (check one box) SUBSITANLIALLY THE SAME CASE.

, WHICH WAS

/s/ Paul W. Sheldon

November 1, 2024

SIGNATURE OF ATTORNEY OF RECORD

DATE
